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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN                       2016 JAN -6 AH If: 58




UNITED STATES OF AMERICA                                     INDICTMENT

             v.                                   Case No.   16 CR QQl                    J;J3C
                                                             18 u.s.c. §1470
RICKY OLSON,                                                 18 U.S.C. §2251(a) & (e)
                                                             18 U.S.C. §2252(a)(2)
                            Defendant.                       18 U.S.C. §2252(a)(4)(B)
                                                             18 U.S.C. §2253


THE GRAND JURY CHARGES:

                                         COUNTl

      On or about February 17, 2015, in the Western District of Wisconsin, the

defendant,

                                     RICKY OLSON,

knowingly distributed visual depictions, specifically computer image files, using a

means or facility of interstate or foreign commerce, and the production of such visual

depictions involved the use of a minor engaging in sexually explicit conduct, and the

visual depictions are of such conduct. Specifically, the defendant sent images of a

known victim ("KV"), from a Snapchat account to Snapchat user "strippingdemona,"

such image files more particularly described as "92D40778-B9C7-44DE-9DA7-

A6Bl 498FB04E-V2.jpg," and "C6EF1189-FC42-4651-9847-15A2BEF A576B-V2.jpg."

             (In violation of Title 18, United States Code, Section 2252(a)(2)).
                                      COUNT2

      On or about February 13, 2015, in the Western District of Wisconsin, the

defendant,

                                     RICKY OLSON,

knowingly received visual depictions, specifically computer image and video files,

using a means or facility of interstate or foreign commerce, and the production of such

visual depictions involved the use of a minor engaging in sexually explicit conduct, and

the visual depictions are of such conduct. Specifically, the defendant received images

and a video file of "KV" engaging in sexually explicit at both the email account

ltagaoll@gmail.com and at his Snapchat account "tagaol," such image files more

particularly described as "Download.jpg," "Download(2).jpg," and "Download(3).jpg,"

and such video file more particularly described as "0213151128.mp4."

             (In violation of Title 18, United States Code, Section 2252(a)(2)).

                                         COUNT3

      On February 24, 2015, in the Western District of Wisconsin, the defendant,

                                         RICKY OLSON,

knowingly possessed a LG LGL39C cell phone, which contained a 4GB micro SD card

containing video files that had been produced using materials which had been shipped

and transported in interstate and foreign commerce, specifically the LG LGL39C cell

phone, S/N 312CYVK0163926, and the 4GB Micro SD card, and the production of such

visual depictions involved the use of a minor engaging in sexually explicit conduct, and
the depictions were of such conduct. Specifically, the SD card contained video files of

"KV" titled "Video0.mp4," "Videol.mp4," "Video2.mp4," and "Video4.mp4".

             (In violation of Title 18, United States Code, Section 2252(a)(4)(B)).

                                          COUNT4

      On or about February 14, 2015, in the Western District of Wisconsin, the

defendant,

                                       RICKY OLSON,

knowingly and intentionally attempted to use a minor, "KV," to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, using

materials that had previously been transported in interstate commerce, that is, a cellular

telephone.

          (In violation of Title 18, United States Code, Section 2251(a) and (e)).

                                          COUNTS

      On or about February 13, 2015, in the Western District of Wisconsin, the

defendant,

                                       RICKY OLSON,

by means of interstate commerce, knowingly attempted to transfer obscene matter to

another individual who had not attained the age of 16 years, knowing that the other

individual had not attained 16 years of age. Specifically, the defendant attempted to

send "KV" a video titled "VID_20150213_145715.mp4."

                 (In violation of Title 18, United States Code, Section 1470).
                                FORFEITURE ALLEGATION

       As a result of the offenses charged in Counts 1 through 4 of this indictment, and

upon conviction for violating Title 18, United States Code, Sections 2251 and 2252,

pursuant to Title 18, United States Code, Section 2253, the defendant,

                                            RICKY OLSON,

shall forfeit to the United States his right, title, and interest in:

       (1) Any and all visual depictions which contain images which are or appear to

be child pornography, together with the storage media in which they are contained,

including books and magazines, seized from the defendant's residence; and

       (2) any and all property used or intended to be used to commit or to promote the

commission of the aforementioned offense, including property specifically described as

an LG cell phone, LGL39C, S/N 312CYVK0163926, a 4GB micro SD card, an LG cell

phone, LGL41C, S/N 408CYQX0065780, and LG cell phone, LGL38C, S/N
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304CQWC0554321, and V3m cell phone, S/N SJOG2147CG, an ALCATEL One Touch

cell phone, S/N CW140902A, and a Huawei cell phone, H868C, S/N

V3L7N893A1706357.

                                              A TRUE BILL

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United States Attorney

Indictment returned:       /-{p; -/t/
